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13                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
14                                SAN FRANCISCO DIVISION

15

16   AMERICAN CIVIL LIBERTIES UNION
     OF NORTHERN CALIFORNIA,
17
                        Plaintiff,
18                                                Case No. 3:16-cv-3539-LB
            v.
19                                                DECLARATION OF MEAGAN
     ALEX M. AZAR II, Secretary of Health         BURROWS IN SUPPORT OF
20   and Human Services, et al.,                  PLAINTIFF’S OPPOSITION TO
                                                  DEFENDANTS’ AND USCCB’S
21                      Defendants,               MOTIONS FOR SUMMARY JUDGMENT
                                                  AND REPLY IN FURTHER SUPPORT OF
22          v.                                    PLAINTIFF’S MOTION FOR SUMMARY
                                                  JUDGMENT
23   U.S. CONFERENCE OF CATHOLIC
     BISHOPS,                                     Date:      August 9, 2018
24                                                Time:      9:30 a.m.
                        Defendant-Intervenors.    Courtroom: 15th Fl., Courtroom C
25                                                Judge:     Hon. Laurel Beeler
26

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        DECL. OF MEAGAN BURROWS IN SUPP. OF PL.’S OPP. TO DEFS.’ & USCCB’S MOT. SUMM. J. &
               REPLY IN FURTHER SUPP. OF PL.’S MOT. SUMM. J., CIVIL NO. 3:16-CV-3539-LB
       Case 3:16-cv-03539-LB Document 124-1 Filed 07/03/18 Page 2 of 3



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     DECL. OF MEAGAN BURROWS IN SUPP. OF PL.’S OPP. TO DEFS.’ & USCCB’S MOT. SUMM. J. & REPLY
                 IN FURTHER SUPP. OF PL.’S MOT. SUMM. J., CIVIL NO. 3:16-CV-3539-LB
       Case 3:16-cv-03539-LB Document 124-1 Filed 07/03/18 Page 3 of 3



 1           I, Meagan Burrows, hereby declare as follows:

 2           1.      I am an attorney at American Civil Liberties Union Foundation. I have been

 3   admitted to this court pro hac vice and I am counsel for Plaintiff in this action. I submit this

 4   declaration in support of Plaintiff’s Opposition to Defendants’ and USCCB’s Motions for

 5   Summary Judgment and Reply in Further Support of Plaintiff’s Motion for Summary Judgment.

 6   I have personal knowledge of the facts set forth in this declaration and would competently testify

 7   as set forth herein.

 8           2.      Attached herewith as Exhibit A is a true and correct copy of additional excerpts of

 9   the transcript of Katherine Chon’s Deposition, taken December 19, 2017.

10           I declare under penalty of perjury under the laws of the State of California that the

11   foregoing is true and correct. Executed this 29th day of June, 2018, in New York, New York.

12
                                                   /s/ Meagan Burrows
13                                                 Meagan Burrows
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     DECL. OF MEAGAN BURROWS IN SUPP. OF PL.’S OPP. TO DEFS.’ & USCCB’S MOT. SUMM. J. & REPLY
                 IN FURTHER SUPP. OF PL.’S MOT. SUMM. J., CIVIL NO. 3:16-CV-3539-LB
